               Case 3:22-cv-01294-WHO Document 57 Filed 12/19/23 Page 1 of 5




 1 Eric J. Buescher (Bar No. 271323)
   eric@baykeeper.org
 2 M. Benjamin Eichenberg (Bar No. 270893)
   ben@baykeeper.org
 3 SAN FRANCISCO BAYKEEPER
   1736 Franklin Street, Suite 800
 4 Oakland, California 94612
   Telephone: (510) 735-9700
 5
   Robert S. Perlmutter (Bar No. 183333)
 6 perlmutter@smwlaw.com
   SHUTE, MIHALY & WEINBERGER LLP
 7 396 Hayes Street
   San Francisco, California 94102
 8 Telephone: (415) 552-7272
   Facsimile: (415) 552-5816
 9
   Attorneys for Plaintiff
10 SAN FRANCISCO BAYKEEPER
11                                     UNITED STATES DISTRICT COURT
12            NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
13 SAN FRANCISCO BAYKEEPER, a                                          Case No. 3:22-cv-01294-WHO
   California non-profit corporation,
14                                                                     STIPULATION AND ORDER
                Plaintiff,                                             REQUESTING REFERRAL TO
15                                                                     MAGISTRATE JUDGE LAUREL
          v.                                                           BEELER FOR A SETTLEMENT
16                                                                     CONFERENCE AND FOR
   AMPORTS, INC., a Delaware                                           VACATION OF JANUARY 16, 2024,
17 Corporation; APS WEST COAST, INC., a                                SUBSEQUENT CASE
   Delaware Corporation; BENICIA PORT                                  MANAGEMENT CONFERENCE
18 TERMINAL COMPANY, a Delaware
   Corporation; and VALERO REFINING
19 COMPANY – CALIFORNIA, a Delaware
   Corporation,                                                        Action Filed:    March 1, 2022
20
                Defendants.
21
22           As discussed with the Court at the November 21, 2023, Case Management Conference
23 (“CMC”), and pursuant to Civil Local Rules 6-2, 7-12 and 16-2(d) & (e), Plaintiff San Francisco
24 Baykeeper (“Baykeeper”), Defendants Amports, Inc., APS West Coast, Inc., and Benicia Port
25 Terminal Company (collectively, “Amports”), and Defendant Valero Refining Company–
26 California (“Valero”) (collectively, “Parties”), by and through their respective counsel, hereby
27 stipulate and request that the Court refer this case to Magistrate Judge Laurel Beeler to hold a
28 settlement conference with all Parties. The Parties also stipulate and request that the Court
                                                    1
     Stipulation and Order for Referral to Magistrate Judge for Settlement Conference
     Case No. 3:22-cv-01294-WHO
               Case 3:22-cv-01294-WHO Document 57 Filed 12/19/23 Page 2 of 5




 1 continue the subsequent CMC, currently scheduled for January 16, 2024, until the earliest
 2 available date thirty (30) days after the settlement conference is scheduled.
 3                                                        RECITALS
 4           As detailed in previous stipulations continuing the initial CMC and discussed with the
 5 Court on November 21, 2023, the Parties have been actively engaged in settlement discussions
 6 since even before Baykeeper filed the instant Complaint for Declaratory and Injunctive Relief
 7 and Civil Penalties in this action on March 1, 2022. The Complaint alleges that Defendants
 8 Amports and Valero (collectively, “Defendants”) violated and are violating various provisions
 9 of the Federal Clean Water Act in conducting petroleum coke handling, storage, and ship
10 loading operations at the Port of Benicia (“Port”). The Complaint also alleges that Defendants
11 violated and are violating various state laws in conducting those operations. All Defendants have
12 answered.
13           The Parties have exchanged multiple drafts of a proposed consent decree that would—if
14 finalized and executed by all Parties—fully resolve this dispute. However, settlement
15 discussions have recently reached an impasse. All Parties believe a settlement conference with
16 counsel and Party representatives that have the final authority to settle is necessary and
17 appropriate at this point. The Parties have further agreed that they would like to have the
18 settlement conference conducted by the Honorable Laurel Beeler at her earliest available date
19 after January 8, 2024, subject to the availability of counsel and Party representatives. In the
20 meantime, the Parties are continuing their efforts to reach a settlement without need for
21 consumption of judicial resources.
22           In light of the foregoing, the Parties have further agreed that the subsequent CMC
23 currently scheduled for January 16, 2024 (and related Joint CMC Statement date), should be
24 vacated and continued until the Court’s earliest available date thirty (30) days after the
25 Settlement Conference is held.
26           NOW, THEREFORE, the Parties, by and through their counsel, stipulate and agree as
27 follows:
28 / / /
                                                                  2
     Stipulation and Order for Referral to Magistrate Judge for Settlement Conference
     Case No. 3:22-cv-01294-WHO
               Case 3:22-cv-01294-WHO Document 57 Filed 12/19/23 Page 3 of 5




 1                                                     STIPULATION
 2           1.       This case be referred to the Honorable Laurel Beeler to conduct a settlement
 3 conference at her earliest available date after January 8, 2024; and
 4           2.       The January 16, 2024, CMC and related Joint CMC Statement date be vacated and
 5 rescheduled for the earliest available date after the settlement conference is scheduled to be held.
 6
 7 DATED: December 19, 2023                              SHUTE, MIHALY & WEINBERGER LLP
 8
 9
                                                         By:        /s/ Robert S. Perlmutter
10                                                              ROBERT S. PERLMUTTER1
11
                                                                Attorneys for Plaintiff
12                                                              SAN FRANCISCO BAYKEEPER
13
14 DATED: December 19, 2023                              CANNATA O’TOOLE & OLSON LLP
15
16
                                                         By:        /s/ Therese Y. Cannata
17                                                              THERESE Y. CANNATA
18
                                                                Attorneys for Defendants
19                                                              AMPORTS, INC.; APS WEST COAST, INC.;
20                                                              and BENICIA PORT TERMINAL COMPANY

21
22
23
24
25
26
27   1
     Pursuant to Local Rule 5-1(h), I hereby attest that each of the other signatories have concurred
28 in the filing of this document.
                                                     3
     Stipulation and Order for Referral to Magistrate Judge for Settlement Conference
     Case No. 3:22-cv-01294-WHO
               Case 3:22-cv-01294-WHO Document 57 Filed 12/19/23 Page 4 of 5




 1 DATED: December 19, 2023                              PILLSBURY WINTHROP SHAW PITTMAN LLP
 2
 3
                                                         By:        /s/ Margaret Rosegay
 4                                                              MARGARET ROSEGAY
 5
                                                                Attorneys for Defendant
 6                                                              VALERO REFINING COMPANY –
                                                                CALIFORNIA
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                  4
     Stipulation and Order for Referral to Magistrate Judge for Settlement Conference
     Case No. 3:22-cv-01294-WHO
                  Case 3:22-cv-01294-WHO Document 57 Filed 12/19/23 Page 5 of 5




 1                                                     ORDER
 2               PURSUANT TO THE PARTIES’ STIPULATION, IT IS SO ORDERED.
 3
            December 19, 2023
 4 DATED: ___________________
 5
 6
                                                              HON. WILLIAM H. ORRICK
 7                                                            United States District Court District Judge
 8
     1725590.3
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                  5
     Stipulation and Order for Referral to Magistrate Judge for Settlement Conference
     Case No. 3:22-cv-01294-WHO
